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 6                            IN THE UNITED STATES DISTRICT COURT
 7                                   FOR THE DISTRICT OF ARIZONA
 8
 9   Jose Collucci,                                   No. CV-17-01398-PHX-DJH
10                      Plaintiff,                    ORDER
11   v.
12   M&T Bank, et al.,
13                      Defendants.
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15            The Court has received the parties' Stipulation for Dismissal of M&T Bank with
16   Prejudice (Doc. 39). Accordingly,
17            IT IS ORDERED approving the Stipulation (Doc. 39) and dismissing this action
18   as to Defendant M&T Bank, with prejudice, each party to bear its own attorneys’ fees
19   and costs.
20            IT IS FURTHER ORDERED directing the Clerk of Court to terminate this action
21   in its entirety.
22            Dated this 12th day of March, 2018.
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                                                    Honorable Diane J. Humetewa
25                                                  United States District Judge
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